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                 Exhibit 3
     Letter from Acting United States
  Attorney Danielle Sassoon to Attorney
  General Pamela Bondi (Feb. 12, 2025)
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